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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 WARREN BERES, et aI.,                  )
                                        )         Nos. 03-785L, 04-1 456L, 04-
          Plaintiffs                    )         1457 L, O 4- L45gL, 0 4- | 459L,
                                        )         o 4- I463L, 0 4-r 465L, 0 4-
 v.                                     )         I 466L, 0 4- | 467 L, 0 4-I 468L,
                                        )         0 4- I 469L, O 4-r 47 rL, 0 4-
 UNITED STATES,                         )         I 47 2L, O 4- I 47 3L, 0 4- I 47 4L
                                        )
          Defendant.                    )         The Honorable Marian Blank Horn
                                        )
                                        )
                                        )




                    DECLARATION OF JERRY BROADUS



      I, Jerry Broadus, make the following declaration:

      1. I am a retired licensed land surveyor and inactive (retired) attorney in

Washington State. I have considerable experience interpreting legal descriptions of

property in King and other counties in Washington, and am the author of

"Washington State Common Law of Surveys and Property Boundaries," a book that

was accepted for continuing legal education credit in W'ashington. I have been

qualified as an expert witness in property descriptions several times. My C.V. is

attached here to as Exhibit A

      2. Richard M. Stephens, an attorney in this case, has asked me to review the
property descriptions on three Statutory Warranty Deeds, all concerning parcels in

Government Lot 2 of SectionS2, Township 25 North, Range 6 East, W.M., in King

County. The lots all lie between the abandoned right of way of a railroad and the

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east shore of Lake Sammamish. The Government Lot 2 in question is a small

portion of the Northwest Quarter of Section 32. Its southeast corner is the center of

Section 32, its south line is the east-west centerline of Section 32, and its west line

is the shoreline of the lake

   3. I have been assured by Mr. Stephens that all three deeds trace title back to
one Willis J. Connell, who also owned the fee underlying the railroad easement. Mr

Connell produced a map, apparently drawn by a "J. Hudson," (an early surveyor in

King County \Mas named John Hudson, but I am uncertain whether he is the

Hudson who drew this map) entitled "Willis J. Connell's Subdivision of Gov. Lot 2,

Sec. 32-25-6," dated March 1927 . This subdivision map rrr¡as not recorded in the King

County Auditor's office, but a copy is readily available at the King County

Assessor's office. The subdivision map shows a line of lots, numbered from 1

through 31, running from the south line of the government lot north to a 15 foot

wide strip along north line of the government lot. The west boundary of all the lots

is a sinuous line apparently representing the shoreline of "Sammamish Lake," while

the east line is a line shown as lying 50 feet west of a dashed line labeled "Nor Pac

Ry." The dashed line is apparently the centerline of the railroad right of way

   4. The three deeds all use the same form of property description, although with
varying degrees ofexactness. The southerly deed, to Spencer, begins "at the

intersection of a line of said Government Lot 2 with the southwesterly line of the

Northern Pacific Railway right-of-way." The description then runs on a bearing and

distance, along said right-of-way line, to the true point of beginning of the parcel,



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and then runs around the parcel. The distances along the right-of-way line are

given as exact, while the distances leaving and returning to the right-of-way are

"more or less" distances (the back line of the parcel is the west line of the

government lot, which is the shoreline of Lake Sammamish. Water boundaries

move, consequently they do not provide a precise beginning point from which you

can measure exact distances). The description also includes a parenthetical: "Also

Known As Tract 8 and the northeasterly 26 feet of Tract 7, Connell's Subdivision of

Government Lot 2, according to the unrecorded plat thereof."

    5. The next deed, to Brockway, begins at the intersection of the south line of
Government Lot 2 with the westerly line of the Northern Pacific Railway Right of

Way. It then follows the same form of measurements to the true point of beginning

of the parcel and around it, with exact distances along the right of way line and

more or less distances running between the right of way and the west line of the

government lot along the lakeshore. This deed also includes a parenthetical

beginning "Being known as tract 16 and the south half of tract 17, WiIIis J.

Connell's subdivision, according to the unrecorded plat thereof...". The final deed, to

Rossi, follows the same format and ends with "Also known as Tract 26 and a portion

of Tract 27, WiIIis J. Connell's Subdivision, according to the unrecorded plat

thereof. ,,

    6. The bearings and distances in the deed descriptions appear to be copied from
Connell's Subdivision unrecorded plat, as the exact distance given, on each deed, to

the true beginning point of each parcel is the sum of the intervening tract distances



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shown on the map.The survey control shown on the map consists solely of "Iron

pipe" monuments at the southeast and northeast corners of Government Lot 2. The

bearing of the south line of the government lot is described as "Westerly" on the

map. The map contains no other bearings, and no distances, for the boundaries of

the government lot. The only distance tie to the railroad right of way on the map is

the number 254 between the shoreline and the west edge of the right of way at the

south boundary of the government lot.

   7. Thus, the three deeds contain metes and bounds descriptions along with
additional statements that the parcels are also tracts and portions of tracts shown

on the unrecorded plat. The question posed to me by Mr. Stephens is whether the

metes and bounds descriptions in these deeds are "careful metes and bounds

description[s]" describing the parcels as "extending up to the edge of the right of

way" (of the railroad). As a surveyor, I am firmly of the opinion that the statements

in each deed referring to the tract numbers in the unrecorded plat are the only way

to properly define each parcel, that the distances called as running to the railroad

right of way in the metes and bounds portions of the deeds are generally inaccurate,

and that the property conveyed with each parcel should be treated the same as lots

in a recorded plat.

   8. Surveyors in western Washington quickly become familiar with the
difficulties of tracing metes and bounds descriptions said to begin where

government lot boundaries intersect other lines, such as right of way lines. The

methods for defining government lot boundaries have never been clear, and have



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been applied differently in different eras of surveying in this region. Specifically,

with Section 32, the south line of Government Lot 2 should be defined as a line

running straight west from the east quarter corner of the section to the shoreline of

the lake. The problem arises in defining the exact direction of "west". Modern

practice prefers to adopt a mathematically weighted mean bearing between the

westerly directions of the north and south lines of the section, but this has hardly

been the practice in the past. Prior surveyors may have merely run a compass line,

or may have attempted to run parallel with some other "westerly" line in the

vicinity. Once the area has become developed and families have built homes relying

on past surveys, it becomes necessary for the modern surveyor to figure out where

those past surveyors actually ran their lines. Any attempt to impose modern

practice on parcels first surveyed ín 1927 is bound to create chaos, with newly

surveyed lot lines conflicting with long-settled occupation lines

   9. The modern surveyor addresses this historical problem by looking at prior

records and by investigating where the visible evidence of property lines in the

immediate vicinity of the problem have been marked and accepted in the

neighborhood. I have not examined these parcels on the ground, but I have

performed a record research of recorded surveys in Section 32, and have noted how

past surveyors have resolved the boundaries of many parcels in "Connell's

Subdivision of Government Lot 2, according to the unrecorded plat thereof."

   10. County records disclose eleven recorded surveys in Connell's Subdivision (the

recording numbers, referring first to the volume and then to the page number in the



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survey records arc: 29-L76, 35-243, 7 4-292, 85-54 [which is a survey of the

Brockway parcell, I2I-L77 , 15I-267 , 215-165, 222-275, 258-29, 339-164/165, and

362-64). Four additional surveys in other parts of the section provide information on

the government lot line running west from the east quarter corner, all by the same

surveying company (recorded under 69-t29, 7 7-7 2, 89-L21, 100-86). Examining

these documents give a detailed picture of how surveyors have approached

surveying in Section 32, and the solutions they have reached.

   11. First of all, these survey documents show that one cannot define the south

line of Government Lot 2, which is the base line for the metes and bounds

descriptions, as it should be done according to standard surveying rules-that being

a line running straight west from the east quarter corner of Section 32. Instead, the

line must bend at the "Iron Pipe" plat monument depicted on Connell's Subdivision

as occupying the southeast corner of the government lot. This monument has been

adopted for surveys both within and without the subdivision itself. Five recorded

surveys have defined the government lot line by explicitly referring to the

unrecorded plat, and four others have adopted the same base line using survey

points found along the same line

   12. Furthermore, recorded surveys show that surveyors working in the area

found existing tract corner pins at the corners of (at least) tracts 1,2,3,7,8,9,12,

13,14,15, 16, and 17 in Connell's Subdivision. The legal descriptions on the surveys

disclose that these tracts were all described using the same metes and bounds

method as used in the three deeds at issue here, with the same references to the



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tract numbers at the end of each description. Also, occupation lines are shown on

surveys of tracts 2, L2, t3, 14, 15, and 17, which match the method of surveying

according to the unrecorded plat. (Note that modern surveyors of the various tracts

would not show whether or not they had reached an opinion as to the ownership of

fee title under an abutting railway, and no such opinion is evidenced in any of these

surveys). FinaIIy, it is common, when surveying in old plats to find monuments,

usually in the form of iron pipes or pins, in rights of way. Eight of these surveys

defined the railroad right of way by using such monuments.

   13. The metes and bounds portions of the descriptions in the three deeds at issue

do not precisely or carefully define the parcels as either including or excluding the

adjoining fee portion of the abutting railroad right of way. The only exact distances

run along the edge of the right of way, and one cannot define the starting point

(where the south line of Government Lot 2 intersects the right of way) without

referring to the unrecorded plat. The side line distances in the metes and bounds

portions give only "more or less" distances, and inspecting the recorded surveys

show that the actual sideline distances of these parcels are considerably at variance

with the distances in the metes and bounds descriptions (in some instances over 80

feet longer)

   14. For example, surveys of the south line of the Brockway parcel show that the

distance measured by the surveyors between the westerly line of Government Lot 2

and the railroad right of way is about 16.5 feet longer than the "220 feet, more or

less," recited in the Brockway deed. Similarly, a survey of the south line of the Rossi



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parcel shows that the distance measured by the surveyor between the westerly line

of Government Lot 2 and the railroad right of way is about 18.2 feet longer than the

"270 feet, more or less," recited in the Rossi deed. The only way to survey the

parcels in this unrecorded plat is to apply standard principles for surveying in older

plats, using monuments, tract corners, and occupation lines to orient the survey.

   15. It is common knowledge among surveyors that metes and bounds

descriptions were regularly added to unrecorded plat descriptions at the insistence

of the tax assessors, to "improve" the legal descriptions in case the assessor needed

to use them for tax foreclosures. Descriptions based entirely on unrecorded plats

have always been sufficient to support transfers of property, as long as the plats

themselves were available for inspection and could be retraced by a competent

surveyor using the same principles as they would apply to surveys in recorded plats

lJsing those principles, the distance in each deed from the westerly line of

Government Lot 2 to the railroad right of way do not define the property because

the property would extend to the lake shore, regardless of the actual distance shown

on the deed or the plat. Additionally, the deeds include shorelands which means

the property extends further than any distance indicated in the plat or in the deeds

In the case of the three deeds at issue here, it is my opinion that the metes and

bounds calls in the deeds which give "more or less" distances to the railroad right of

way are not accurate. Those calls do not clearly exclude the abutting fee underlying

the railroad easement




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   16. I was also asked to review the property descriptions of two parcels that were

carved out of property deeded to J.A, Earley in Government Lot2 of Section 20,

Township 25 North, Range 6 East, W.M., in King County, that lies southwest of an

abandoned railroad right of way, between it and the line of navigability of Lake

Sammamish. Both parcels fit in to the northwest 200 feet of property that was deeded

by Charles W. Bovee (referee appointed and authorized by a 1949 court decree) to

Earley and recorded under AF 3911320. The description of the property in the deed to

Earley recites: "Those portions of Govt. Lot 2, Sect 20, Twp 25 lrtr, Range 6 E.W.M.,

KCW: 2nd class shore lands adjoining (an upland parcel)

   17. Mr. Stephens provided me with paperwork from the 1949 partition action

among the Palmberg heirs, King County Cause #367315. The "Findings of Fact and

Conclusions of La'rv" state that the case resolves the interests of all parties, known and

unknown, claiming any interest in the estate. Parcel B, in the "property involved

herein" (Finding of Fact I) describes by metes and bounds an upland parcel that lies

northeast of the railroad right of way, but also includes: "together with second class

shore lands adjoining, EXCEPT portion if any, in said railroad right of way." Finding

IV states that the interests of all persons in the property are described in a title report

(I presume the same title report included in the Bill of Particulars frled with the case)

that uses the same description for its Parcel B. Finding V states "That title to Parcel

B, exclusive of second class shorelands," had been earlier acquired by Stangroom.

   18. Conclusions of Law II requires that the "shore lands in Parcel B" should be

sold, and Conclusion V appoints Bovee to that responsibility. Bovee's notice of referee's



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sale thus describes its Parcel B as "The second class shore lands adjoining the

following described property," followed by the description of the Stangroom parcel

(which is the parcel that lies northeast of the railroad right of way).

   19. The issue I was asked to examine was whether the property as described in the

deed to Earley (and consequently the parcels that \¡¡ere carved out of the Earley

property) includes a narrow strip of land that lies between the present shore of Lake

Sammamish and the railroad right of way. In my opinion, it does

   20. The deed of shore lands to Palmberg heirs was executed in February of 1940

and conveyed the state's interest in "shore lands of the second class, as defined by

Chapter 255 of the Session Laws of.1927 ." That definition, found in Section 8, covers

"public lands belonging to the state bordering on the shores of a navigable lake or

river not subject to tidal flow between the line of ordinary high water and the line of

navigability..." At the time Palmberg's son applied for purchase, the Palmberg heirs

already owned the adjoining portion of Government Lot2. A government lot adjoining

a navigable lake does not itself include lands below the ordinary high water line. Thus

the deed from Bovee to Earley, which describes the adjoining second class shore lands

as being included in "Those portions of Govt. Lot 2" is itself ambiguous, because

shorelands by the statutory definition are not included in a government lot, and

therefore subject to interpretation as evidenced by the actions of the parties, including

other words in the documents conveying the properties in the partition of the

Palmberg property




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    21.The court case partitioning the property purported to cover all persons with

interest in the Palmberg lands, directed that the "shorelands in parcel B" be sold, and

describes those shorelands as "adjoining'the portion of Parcel B that lies northeast of

the railroad right of way. "Shore lands" according to the statutory definition would not

"adjoin" the portion of Parcel B lying northeast of the railroad if there \ryas a narrow

strip of land lying between the shore of the lake and the railroad right of way ('adjoin"

is defi"ned, in Black's Law Dictionary, 5th Ed. 1979, on page 39 as "touching or

contiguous, as distinguished from lying near to or adjacent."). The word "adjoining" is

further used in the Bovee notice of sale and in the deed to Earley. None of these

documents state that their use of the word "shorelands" (or "shore lands") was limited

to the exact statutory definition in the state's shore land deed to Palmberg and heirs

    22. The only logical interpretation, given that all of the interests in the Palmberg

property were to be resolved, and given that Palmberg and heirs owned the statutory

shore lands and the adjoining portion of government lot 2, is that all the land lying

between the lake shore and the upland portion of the government lot, Iying northeast

of the railroad right of way, was intended to be disposed of. There is nothing to

support an intent that the narrow strip of land between the shore and the railroad

right of way would not pass to Early in the Bovee deed.

    23. This logic supports a survey of one of the two parcels at issue here, recorded in

2013 for Mike and AIIison Glover (vol. 301 page 54). That survey of the Glover parcel

recites the same legal description (based on the Earley deed) of a portion of the

"second class shorelands adjoiningl' (the upland parcel that lies northeast of the



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rafüoad right of way) and depicts the property as extending all the way from the shore

of the lake to the southwest edge of the railroad risht of way. The same logic was

apparently used by the suweyor of a boundary line agreement for Donald Barrett (vol.

261 page 18) recorded in 2009, which graphically shows atl the parcels in the area

extending to the railroad right of way, just above a notation of "2nd class shorelands

Lake Sammamish."

   24. The partition of the Palmberg property among his heirs confirmed property

previously owned by Palmberg northeast of the railroad right of way in Stangroom,

and that led to the deeding of the property southwest of the railroad to Earley. There

is now a narrow strip of land, occupied by a house, between the rafuoad and the shore

of the present lake. The evidence of the intent of this overall set of transactions is that

that narrow strip should be accepted as part of the Earley land, and those parcels that

rvere carved out of it. As those parcels abut the railroad right of way, and were not

described by metes and bounds, they should be credited with the adjoining portion of

the underlying fee title below the railroad easement.

   I declare under penalty of perjury under the laws of the State of Washington that

the foregoing is true and correct and was executed by me ünJL day of January, 2018,

at P,,,^ //uA                     Washington.
      /'t-
                                           fLo-^
                                              -.1 R ,ß n-r-/*-
                                           /-
                                          Jerry Broadus




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CURRICULUM VITAE

JERRY RAY BROADUS
 PO Box 249, Puyallup, Washington 98371
 Phone: (253)279-4774
jbroadus@seanet.com


 PROFESSIONAL                   Washington State Land Surveyor #17660 - Retired
 LIGENSES:                      ldaho State Land Surveyor t*4337 - Retired
                                Washington State Bar Association, Attorney #14699 - lnactive


 LEGAL EDUCATION                University of Puget Sound School of Law; JD summa cum laude, awarded May
                                1984, Class Standing: first in class, GPA 3.75

                                Honorc and Activities:
                                University of Puget Sound Law Review, 1982-1984
                                Museck Scholarship, 1 983-1 984
                                Scholarship for Scholastic Achievement, 1982-1983, I 983-1 984
                                American Jurisprudence Book Award for highest standing in corporations
                                West Publishing Annual Student Award, 1984


 HIGHER EDUCATION               University of Texas Graduate Program in English; one semester
 AND HONORS:                    University of Texas, 1966-1970; BA, double major in English and archaeology

                                Honols:
                                Special honors and Dean's List

 ART¡CLES PUBLISHED             Boundary Law: The Rule of Monument Control in Washington. 7 Univ. Puget Snd.
                                L. Rev. 355-85 (1984)
                                Shoreline Boundaries in Washinqton, 5 U.P.S. Environmental Law Quarterly, 1-4
                                (1983); Also published in 8 Evergreen State Surveyor (American Congress on
                                Surveying and Mapping) 10-13 (May 198a)
                                Adverse Possession, (co-authored with Dale Carlisle), 3 Wash. Real Property
                                Deskbook, Ch. 59 (2nd Ed. 1988) (3rd Ed. 1995) (4th. Ed.2000)
                                Global Positioninq, The Remeasurement of Mt. Rainier, The Climb, 14 Point of
                                Beginning (POB) No. 1, 19-23 (1988)
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                                The Survevor and the Law, P.O.B. Publishing Co., Canton, Ml (1990)
                                Washinqton Shoreline Boundaries, Washington Boundary Law and Dispute
                                Resolution, Professional Educ. Systems, lnc. (1994)
                                Usinq GPS to Map Rhododendrons in China, 20 POB, No. 2, 58-65 (1994)
                                Understanding Property Boundary Survevs, Washington Boundary Law
                                and Adjoining Landowner Disputes, Professional Educ. Systems, lnc. (1995) (1996)
                                Water Boundaries and Survevs in the Western States, An Overview for
                                Attornevs, published in "Land Surveys, A Guide for Lawyers and Other
                                Professionals", American Bar Association, 215-24 (1 999)
                                2000 Update to Surveys. Subdivision and Platting, and Boundaries, published by
                                Municipal Research Services Center of Washington and linked on their website.
                                "A Perspective on The Manual of lnstructions for the Survey of the Public Lands",
                                USDI (co written with Bob Dahl) (2007)

 BOOKS PUBLISHED                Washinqton State Common Law of Survevs and Prooertv Boundaries, Land
                                Surveyors Association of Washington (2010)




                                                                                                          Ex. 4A-1
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JERRY RAY BROADUS      Researcher: Hourly employee at Sitts and Hill Engineers, 253-474-9449

WORK EXPERIENCE:      Vice President and Shareholder, Winter 20141o 2016: Geometríx, lnc.
                      Puyallup, WA. Duties: Research, Expert testimony. Most activities performed as
                      subcontractor for Sitts and Hill Engineers, Tacoma, WA.253-474-9449

                      Vice President and Shareholder, Summer 1989 to 2013: Geometrix Surveying,
                      lnc.,Puyallup, Washington. Duties: Responsible for all surveying decisions,
                      including field, office, boundary research and testimony, for two person surveying
                      company. Expert testimony and frequent lecturer and continuing education provider

                      Land Use Manager and General Gounsel. Spring I 987 to Summer 1 989:
                      P.E.l. Consultants, lnc., FederalWay, Washington. Duties: Surveying and client
                      representation in land use projects including subdivisions, rezones, conditional use
                      permits, and municipal relations. Project Manager for special projects involving
                      surveying and legalexpertise. General legal advice to company.

                      Associate Attorney. Fall 1985 to Spring 1987: McGavick, Graves, Beale, &
                      McNerthney, P.O. Box 1317, Tacoma, Washington. Duties:Trial attorney and legal
                      counsel, concentrating in realestate and land use.

                      Law Clerk. Summer 1984 to Fall 1985: The Honorable Stanley Worswick,
                      State of Washíngton Court of Appeals, Div. ll, Tacoma, Washington. Duties: Legal
                      research and writing of pre-hearing memoranda and opinion drafts. Bailiff.

                      lnternships: Part-time spring and full-time summer, 1983: Rush, Kleinwachter,
                      Hannula & Harkins, Tacoma, Washington; Fall 1983 to summer 1984: Gordon,
                      Thomas, Honeywell, Malanca, Peterson & O'Hern, Tacoma, Washington.
                      Duties: Legal Research and writing of memoranda and briefs in land use, real
                      property, and business law. Assistance in trials and land use hearing; ex-parte
                      hearings before commissioners and interviewing of witnesses.

                      Ghief of Surueys. 1977-1981, Summer of 1982: Pac-Tech Engineering (formerly
                      known as J.J. Sleavin and Associates), Tacoma, Washington. Duties: Professional
                      level land surveying such as subdivisions, condominium platting, and boundary
                      surveys. Responsible for property surveys, including research and preparation of
                      courtroom exhibits for litigation. Duties also included management of survey crew
                      personnel and negotiation of contracts.
                      1973-1977: Employed as a land surveyor for two firms: Philip M. Botch and
                      Associates of Bellevue, Washington; and John J. Vadai and Associates of 1971-
                      1973: Employed as a land surveyor in Texas by the Texas State Department of
                      Parks and Wildlife.

                      Land Surveyors Association of Washington, Surveyor of the Year, 1992
HONORS/ACTIVITIES:
                      American Congress on Surveying and Mapping Fellow
                      Delegate and Consultant to National Congress of Engineering Examiners
                      Committee on Digital Signatures for Design Professionals.
                      Member of Clark's Creek Greenway advisory committee.
                      Volunteer at Nisqually and Malheur National Wildlife Refuges
                      Named one of the surveying profession's "Top 25 Surveyors" in the country from a
                      polltaken by Professional Surveyor Magazine , Announced Sept. 2006
                      "Sounding Board Member" for 2009 Edition of BLM Surveying Manual

PROFESSIONAL          lnstructor of over 1,000 Professional Development Hours for Land Surveyors,
TEACHING              Washington Bar Association and Bureau of Land Management




                                                                                                        Ex. 4A-2
